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                                                                                                                                    1cc6
                                 @Intteb State$ Biritrict aourtmm
                                                                  DISTRICT OF



                    UNITED STATE-S OF AMERICA

                                                                               ORDER SETTING CONDITIONS
                                                                                      OF RELEASE

                                                                            Case Number:   L'OSCAmC//                       mr
                                  Defendant


                 IT 1S ORDERED that the releabe of the defendant is subject to the following ~onditions:

                                     shall no1 commit any offcnse in violation of federal. stale or local law while on release in t h ~ s
                   ( 1 ) The defe~~dant
                        case.

                   ( 2 ) The defendant shall irnn~crliatelyadvibx the coun. defense counsel and the U.S. attorney in writing of any
                         change in address and telephone number.

                   (3) The defendant shall apprar at all proceedings as required and shall surrender for service of any sentence
                                                                                                                                .
                        imposed as directed. 'The defendant shall next appear at (if blank, to be notified




                                         Release on Personal Recognizance or Unsecured Bond
                 11'1sFURTHER ORDERED that the defendant be released provided that:

          (   4 )(4) The defendant promlscs to appear at all proceedings as required and to surrrnder for scrvice of any sentence
                        imposed.

          (      ) (5) The detendant executes on unsecured bond binding the defendant to pa) the Unilrd States the sum of

                                               --                                                  dollars ($-    -                   )
                        in the cvcnt of a failure to appear as required or to surrender as directed for uewice of any sentence imposed.




WHITE C O P Y   COURT           YELLOW - D E F E N D A N T   BLUE - U . S ATTORNEY     PINK - U S . MARSHAL      G R E E N - PRETRIAL SERVICES
         ,el
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G O O ~ I N ;had Lee
Dkt. NO.05-0511 AWI       ADDITIONAL CONDITIONS OF RELEASE

             Upon finding t h a t release b y o n e of t h e a b o v e methods willnot b y itself reasonably a s s u r e t h e a p p e a r a n c e o f t h e defendant
a n d t h e safety of o t h e r persons a n d t h e community, it is F U R T H E R O R D E R E D t h a t t h e release of t h e d e f e n d a n t i s s u b j e e t t o t h e
eonditions m a r k e d below:

(X )       (6)         T h e d e f e n d a n t is placed i n t h e custody of:

                       N a m e o f person o r organization K a y Goodwin



w h o agrees (a) t o supervise t h e d e f e n d a n t i n a c e o r d a n e e with all conditions of release,
(b) t o use every effort t o assure t h e a p p e a r a n c e of t h e d e f e n d a n t a t all scheduled c o u r t proceedings, a n d (e) t o notify t b e c o u r t
immediately i n t h e event t h e defengdnt viol#es a n y conditions of release o r disappears.




(X)        (7)         The defendant shall:
           (X )        (a)      maintain or activelv seek emplovment, and provide proof thereof to the PSO, upon request.
           ( )         (b)      maintain or commence an educational program.
           (X )        (c)      abide by the following restrictions on his personal association9, place of abode, or travel:
                                Reside at a residence neeroved by the PSO. and not move o r be absent from this residence for more than 24 hrs.
                                without prior approval of PSO.
           (X)         (d)      avoid allcontect with the lollowin~namedwrsons. who a r e considered either alleeed victims or potential witnesscs:
                                Carl Russell Robbins. Michelle Rcnee Yeaeer, John Edear Yeaeer. and Norma Jean Arredondo. unless in the
                                presence of counsel or otherwise a ~ p r o v e din advance by the PSO.
           (.X ).      fe)
                        ..                         -
                                report on a reeular basis to the followine aeency: --   .
                                Pretrial Senices and complv with their rules and reeulations.
           I   I       I I>     tot. shal. rcnon on\
                                ,~      ~   ~          , nrcrcrintions
                                                          ,              to thc PSO utthin 18 hodn 11frecelP1
                                                                                   ~   ~




                                you shall sibmit to drue aAd1oralcohol testine as directed by the PSO, which may include remote alcohol testing at
                                your own expense.
                                ~          o            s            s       o        l        s       i         o of a narcotic
                                                                                                                           n       drue and othercontrolled
                                substances defined in 21 USC 6802 unless erescribed by a licensed medical practitioner.
                                undereo medical o r psychiatric treatment andlor remain in an institution, as follows: lncludine treatment for
                                m c o h o l dependency, and pav lor costs as approved bv thePSO.
                                executed a bond or an agreement to forfeit upon failing- to appear
                                                                                                 ..    or failure to abide by any of the conditions of release,
                                the following sum of miney or designated
                                post with the court the following indicia or ownership of the above-described propert)., or the following amount or
                                percentage of the above-described money:
                                execute a hail band with solvent sureties in the amount of S
                                return to custody each (week)day as of o'clock aRer being released each (week)day as of o'cloek for employment,
                                schooling, or the following limited purpose(s):
                                surrender any passport to the Clerk, United Stales District Court.
            . .         . .                 . . during- the .~endencvof this case.
                                obtain no DassDort
            (X )       (p)      report in person to the Pretrial Senices Aeeney on the first workine dab following vour release from cu~todb.
                        (q)     pYt~c~p"te   l n ~ ~ n c o f t hfi~llou~ng
                                                                 e      homcconfinementpro~ram~~mponrntsanJab~de         h) all thcre~u~rementsofthe  program
                                which will include electronic monitoring at your own expense.
                                ( X ) (ii) Home Detention. You are restricted to vour residence a t all times except for emplovment: education;
                                        relieious services; or mental health treatment: attornevvisits; court aDpearances; court-ordered oblieations;
                                              or other activities as pre-aeoroved by the Pretrial Services office o r s u ~ e w i s i n e0mCer.




(Copies to: Defendant, US Atlorney, US Marshal, Pretrial Services)
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                                                      -~       -                 -                       --                          ~p




                                                       Advice of Penalties and Sanctions



                                                           PENALTIES AND SANCTIONS:
 X
ig
          A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest,
     a re\,ocation of release_ an order of detention. and a prosecution for contempt of court and could result in a term of imprisonment,
     a fine, or both.
          The commission of a Federal offense while on pretrial release will result in an additional sentence of a term of imprisonn~entof
     not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one year, if the offense is a mis-
     demeanor. This sentence shall be in addition to any other sentence.
          Federal law makes it a crime punishable by up to 10 years of imprisonment, and a $250,000 fine or both to obstruct a criminal
     investigation. It is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to tamper with a witness, vic-
     tim or informant; to retaliate or attempt to retaliate against a witness, victim or informant; or to intimidate or attempt to intimidate a
     witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are significantly
     more serious if they involve a killing or attempted killing.
          If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence,
     you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
          (1) an offense punishable by death, life imprisonment. or imprisonment for a term of fifteen years or more, you shall be fined
               not more than $250,000 or imprisoned for not more than 10 years, or both;
          (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall be fined not
               more than $250,000 or imprisoned for not more than five years, or both;
          (3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
          (4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
          A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense.
     In addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                        Acknowledgement of Defendant
          I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all condi-
     tions of release, to appear as directed, and to surrender for service of any sentence imposed. I am aware of the penalties and sanctions
     set forth above.




                                                                                       City and State                           TeIephone




                                                 Directions to United States Marshal
       /
(   4 The defendant is ORDERED released after processing.
(      ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk orjudicial officer that the
          defendant has posted bond andlor complied with all other                                                               ced before the
                                cer at the time and place specified,




                                                                                                Name and Title of Judicial Officer




    WHITE COPY - COURT           YELLOW - DEFENDANT            BLUE - U S . ATTORNEY         PINK - U S . M A R S H N     GREEN - PRETRIAL SERVICES
